UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WISCONSIN
AT MILWAUKEE

JOAN McCANTS, ESTATE OF
JERMAINE CLAYBROOKS,
BIOLOGICAL MINOR CHILDREN Case No. 2:17-cv-1507
J.J.C., by and through KAYENNE ALLEN,
as parent and guardian, and J.D.C., by and
through MARKIA S. LOVE, as parent and
guardian,
Plaintiffs,

V.

CITY OF MILWAUKEE,

POLICE CHIEF EDWARD FLYNN,

MILWAUKEE POLICE OFFICERS JOHN SCHOTT,
MARTEZ BALL, and JOHN IVY, WEST ALLIS
POLICE OFFICERS TODD KURTZ, and

P.O. DANIEL DITTORRICE, and SPECIAL AGENT
JAMES KRUEGER, Drug Enforcement Agency,

Defendants.

MOTION TO WITHDRAW

COMES NOW the above-captioned defense counsel, Attorney Walter W. Stern III, who

currently represents Kayenne Allen, general guardian of J.J.C. One of the plaintiffs, Kayenne
Allen, has discharged counsel in representing her due to a fundamental disagreement between
lawyer and client.

Because continued representation of said plaintiff would be unethical and improper,
counsel requests that the Court sign an Order permitting counsel to withdraw, so that said
Plaintiff can retain alternate counsel.

A copy of this motion is sent to Kayenne Allen at 466 E. Holt Avenue, Milwaukee, WI

53207.

Case 2:17-cv-01507-PP Filed 11/10/17 Page 1of2 Document 2
Plaintiffs’ counsel requests that the Court enter an Order permitting withdraw within ten
(10) days of the receipt of this motion, unless there is any objection to this withdraw by the Court
or by the Plaintiff.

Dated this 9" day of November, 2017 y,

Walter W. Stern III

Attorney for Petitioners

State Bar No. 1014060

920 85™ Street, Unit 123
Kenosha, WI 53142

(262) 880-0192/(262) 997-1101
wstern] @wi.1r.com

Case 2:17-cv-01507-PP_ Filed 11/10/17 Page 2 of 2 Document 2
